             IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF ALASKA

MARIA M. GIVENS, as Personal       )
Representative of the Estate of    )
Raymond C. Givens,                 )
                                   )
           Plaintiff,              )
                                   )
      v.                           )
                                   )
JOSEPH DELIA,                      ) Case No. 3:23-cv-00121-HRH
                                   )
           Defendant.              )
                                   )

                (PROPOSED) ORDER APPROVING
             SECOND CONFIDENTIALITY AGREEMENT

     The parties’ Joint Motion for Approval of Second Confidentiality

Agreement, filed April 30, 2025, is GRANTED.

IT IS SO ORDERED.



     DATED this _______ day of ______________, 2025, at Anchorage, Alaska.



                                  ________________________________
                                  The Honorable H. Russel Holland
                                  United States District Judge




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